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                                                                                                                     TROY LAW <troylaw@troypllc.com>



  RE: Trial: Lin v. JD Produce Maspeth, LLC, et al., 20-CV-2746
  1 message

  Richard Qu <rqu@hanglaw.com>                                                             Wed, Nov 1, 2023 at 5:56 PM
  To: Stephanie Yu <Stephanie_Yu@nyed.uscourts.gov>, "troylaw@troypllc.com" <troylaw@troypllc.com>
  Cc: "eaglechen123456@gmail.com" <eaglechen123456@gmail.com>, Hang Jian <jhang@hanglaw.com>,
  "kristi.edny_gmail.com" <kristi.edny@gmail.com>, Sidney Li <sli@hanglaw.com>


    Dear Stephanie,



    Thank you for the kind instructions. I’ll do my best to coordinate with counsel regarding the next steps.



    Aaron,



    I was in mediation earlier today. I’d propose a 30-day extension to submit the joint pretrial submissions since I do need
    some time to review the pretrial submissions. Will you please draft a joint request to adjourn the trial ?



    For trial dates, will the weeks of January 22 or February 5 work for you?



    Respectfully,



    Ge Qu, Esq.

    (718)353-8588 (Tel) |(516) 669-0194 (Direct)|(718) 353 6288 (Fax)

    rqu@hanglaw.com| www.hanglaw.com




    136-20 38th Avenue, Suite 10G

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    From: Stephanie Yu <Stephanie_Yu@nyed.uscourts.gov>
    Sent: Wednesday, November 1, 2023 5:46 PM
    To: troylaw@troypllc.com
    Cc: quge87@gmail.com; Richard Qu <rqu@hanglaw.com>; eaglechen123456@gmail.com; Hang Jian
    <jhang@hanglaw.com>; shan.zhulaw@gmail.com; kristi.edny_gmail.com <kristi.edny@gmail.com>
    Subject: RE: Trial: Lin v. JD Produce Maspeth, LLC, et al., 20-CV-2746



    Hi Aaron,

      Thank you for giving me an update. If the parties are seeking an adjournment, please file a motion to adjourn on the
    docket as soon as possible and await the Court’s decision on the motion. Ge – please reach out to Aaron/Plaintiff’s
    counsel so the parties may further coordinate the appropriate next steps. Time is really of the essence here.



    Prior to my leave, I had already put in an order for jurors to appear on Monday. If the parties are going to adjourn, you
    should seek the approval of the Court as soon as possible so court resources and mostly importantly the jurors’ time are
    not wasted.



    Best,

    Stephanie




                                           Stephanie Yu
                                           Case Manager/Courtroom Deputy to the Honorable William F.
                                           Kuntz, II

                                           U.S. District Court – Eastern District of New York
                                           225 Cadman Plaza East

                                           Brooklyn, NY 11201
                                           (718) 613-2205




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    From: Troy Law <troylaw@troypllc.com>
    Sent: Wednesday, November 1, 2023 5:18 PM
    To: Stephanie Yu <Stephanie_Yu@nyed.uscourts.gov>
    Cc: quge87@gmail.com; rqu@hanglaw.com; eaglechen123456@gmail.com; jhang@hanglaw.com;
    shan.zhulaw@gmail.com; kristi.edny_gmail.com <kristi.edny@gmail.com>
    Subject: Re: Trial: Lin v. JD Produce Maspeth, LLC, et al., 20-CV-2746




    CAUTION - EXTERNAL:




    Dear Ms Yu,

    Thank you for keeping a firm hand on this matter, and for reaching out to us.

    I have been trying to reach Defense counsel all day to speak with him regarding this matter, but
    except for about 5 minutes around 3:00 PM I was unable to do so. His office informs me he left at
    about 4:30 PM. I have also attempted to reach him by cell phone, but it goes directly to voicemail.


    The parties did not reach out to Magistrate Judge Merkl in the hopes that they could resolve the
    matter among themselves. Defense counsel and I are experienced dealing with each other and have
    settled a large number of cases between ourselves. Plaintiff made his latest settlement demand on
    October 30, 2023, and Defendants are still considering it, but have not counter-offered since then.


    Neither party has motions in limine. I emailed a draft jury charge, verdict sheet, and voir dire to
    Defense counsel on October 31, 2023, and at the same time a copy of Plaintiff's marked exhibits. I
    had meant to email them earlier, but it turned out I had inadvertently sent the emails to my own
    email address and omitted to send them to Defense counsel's. I apologize for the error.

    I believe an adjournment may be warranted in light of the above, and especially to give the parties
    more time to settle the case if possible.

    Yours sincerely,
    Aaron Schweitzer

                                                         TROY LAW pllc
                                                   Attorneys & Counselors at Law
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                                                  admitted/practiced in the courts

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    On Wed, Nov 1, 2023 at 9:57 AM Stephanie Yu <Stephanie_Yu@nyed.uscourts.gov> wrote:

       Counsel,

             I hope you are doing well. I am back from my leave and I’m looking into the above reference case that is
       scheduled to proceed to trial in 3 business days. During the final pretrial conference held on 10/13/23, the Court had
       urged the parties to reach out to the Honorable Taryn A. Merkl for settlement discussions. It was surprising to me to
       see that there has been no activity on the docket since the final pretrial conference held three weeks ago. As of this
       morning, it does not appear that the parties reached out to Judge Merkl and the required pretrial filings as dictated by
       Judge Kuntz’s individual rules V.B (motions in limine, proposed voir dire questions, proposed jury instructions,
       proposed verdict sheet, etc.) have not filed.



       It is unclear to me from reviewing the docket sheet, if the parties are still proceeding to trial or if the parties are planning
       to seek an adjournment.



       Please advise as to the status of the case and the ETA on the filings that are required from the parties prior to trial.



       I am copying Kristi Cruz, the court reporter assigned to our trial next week. She emailed the parties to inquire about the
       parties’ transcript order for trial but has not received a response from either counsel. Please take a moment to review
       her email and respond as soon as possible.




       Best,

       Stephanie




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                                        Stephanie Yu
                                        Case Manager/Courtroom Deputy to the Honorable William F.
                                        Kuntz, II

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                                        Brooklyn, NY 11201
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